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                                               The City of New York                                CASSANDRA N. BRANCH
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                                                                                    October 12, 2018
        BY ECF
        Honorable Ronnie Abrams
        United States District Judge
        Southern District of New York
        40 Foley Square
        New York, New York 10007

                                Re:   Bradley v. The New York City Dep’t of Educ., et al.,
                                      16 Civ. 07043 (RA) (KNF)
                                      Our No. 2016-037229

        Dear Judge Abrams:

                      I am an Assistant Corporation Counsel in the office of Zachary W. Carter,
        Corporation Counsel of the City of New York, attorney for defendants The New York City
        Department of Education (“BOE”), and David Fanning in the above-referenced action.
        Defendants respectfully write on behalf of all parties to provide the Court with a status update.

                        Discovery is completed in this matter, including depositions. The parties have
        discussed settlement since their last appearance, and are optimistic that the matter can be
        resolved through mediation. Defendants apologize for this late filing, which resulted from
        difficulties in being able to discuss the matter with BOE personnel at the beginning of a new
        school year and the Comptroller’s Office. As settlement appears to be a viable option, the parties
        respectfully request that Your Honor refer this action to the Southern District’s Mediation
        Program for further assistance.

                         Thank you for your consideration of this matter.

                                                                      Respectfully submitted,

                                                                      [ECF]_____ /S/_____         _
                                                                      Cassandra Branch
                                                                      Assistant Corporation Counsel

        cc:     STEWART LEE KARLIN LAW GROUP, P.C.
                Attorneys for Plaintiff
